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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

 THE STATE OF TEXAS, et al.,                  §
                                              §
        Plaintiffs,                           §
 v.                                           §
                                              §       Civil Action No. 4:20-cv-957-SDJ
 GOOGLE LLC,                                  §
                                              §
        Defendant.                            §

REPLY TO GOOGLE’S RESPONSE TO PROSPECTIVE PLAINTIFF STATE
         OF SOUTH CAROLINA’S MOTION TO INTERVENE



       On June 17, 2021, Prospective Plaintiff State of South Carolina (“South

Carolina”) notified the Court and Google of its intention to seek permission to

intervene in the underlying action after its statutorily prescribed notice period. On

the same day, prospective plaintiff Louisiana filed its motion to intervene. On June

29, 2021, South Carolina filed its motion to intervene (Dkt. No. 128). Both states

confirmed that they did not intend to add any new facts to the case. Further, both

states confirmed that the only changes to the live pleading would be adding South

Carolina and Louisiana: (i) to the caption; (ii) to the list of plaintiff states; and (iii) to

the signature block; and also adding the respective relevant state statutes. Both

states identified the statutes, giving Google notice of the relevant state statutes to be

added to the state law claims section and prayer for relief in the complaint—all

centered around the same antitrust and consumer protection claims in the case since

December 2020. Because an amended pleading impacts 16 other states, South

Carolina and Louisiana offered to add their names and corresponding state statutes
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to an amended pleading when the next substantive amended pleading is filed (before

the November 2021 deadline to amend pleadings). It is South Carolina’s

understanding that the plaintiff states anticipate filing a substantive amended

pleading to possibly winnow down and clarify points made in the complaint, and in

the interest of party resources and time, South Carolina offered to wait until the

plaintiff states were ready to make a substantive joint filing.

       On July 13, 2021, Google filed its Response (Dkt. No. 131), and stated that it

should not be required to wait until November for “an up-to-date operative complaint

that identifies all of the plaintiffs suing it, all of the claims those plaintiffs intend to

pursue, and all of the facts necessary to support those claims.”

       On July 12, 2021, the day before Google filed its Response, Google’s counsel

reached out about whether the plaintiff states would be amenable to filing an

amended complaint 14 days after the Court rules on the motion to intervene. Counsel

for Texas asked Google’s counsel whether an amended complaint in mid-September,

eight weeks from now and about two months before the amended pleadings deadline,

would be sufficient timing for an amended complaint. Google instead filed its

Response requesting 14 days from the Court’s ruling for an amended complaint.

       From the standpoint of judicial economy and party resources, it seems that

filing a single amended complaint is more pragmatic than the parties dealing with

two amended complaints—one 14 days after the Court rules on the motions to

intervene and another just weeks later.

       However, if the Court prefers that the plaintiff states file an amended




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complaint sooner rather than later after the Court issues its ruling on South Carolina

and Louisiana’s Motions to Intervene, allowing the plaintiff states to have four weeks

after the Court’s ruling to file an amended complaint should allow the states

sufficient time.



Dated this 20th day of July, 2021.

Respectfully submitted,

FOR STATE OF SOUTH CAROLINA

ALAN WILSON
South Carolina Attorney General


_/s/ Rebecca M. Hartner_______________

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                            CERTIFICATE OF SERVICE

       I certify that on this 20th day of July 2021, this document was filed
electronically in compliance with Local Rule CV-5(a) and served on all counsel who
have consented to electronic service, per Local Rule CV-5(a)(3)(A).

                                         /s/Rebecca M. Hartner




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